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                         MEDIA




                             Talk to The Times: Editorial Page Editor Andrew Rosenthal
                         emu2           2009
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                                                Andrew Rosenthal, the editorial page editor of The New York Times,
                                                answered questions from readers April 13-f7- 2009. He previously
                                                answered questions in September 200-.

                                                Most recent       answer:              click here.

                                                Mr. Rosenthal      is   in charge of the paper's opinion pages, both in the
                                                newspaper and online. He oversees the editorial board. the letters and Op-
                                                Ed departments,         as   well      as    the editorial and Op-Ed sections of nvtimes.com.
                                                The editorial department of the paper is completely                           separate from the news
                                                operations and Mr. Rosenthal answers directly to the publisher, Arthur
                                                Sulzberger Jr.

                                                Under Mr. Rosenthafs direction, the                         18   members of the editorial board
                                                prepare the paper's editorials. The board holds regular meetings to discuss
                                                current issues. The editorials are written by individual board members in
                                                consultation with their colleagues, and are edited by Mr. Rosenthal and his
                                                deputies.

                                                Mr. Rosenthal became editorial page editor on Jan. 8, 2007. He had been
                                                deputs editorial page editor since September 2003. Previously he was
                                                assistant managing editor for news and foreign editor of The Times. He also
                                                served   as   national editor for six months in 2000, supervising coverage of
                                                the presidential elections and the post-election day recount. and                                         as

                                                Washington editor. As             a    Washington correspondent, Mr. Rosenthal covered
                                                the Bush administration, the 1988 and 1992 presidential elections and the
                                                Persian Gulf War.

                                                Prior to joining The Times in March 1987, Mr. Rosenthal worked at The
                                                Associated Press, where he was Moscow bureau chief. Born in New Delhi,
                                                India. Mr. Rosenthal graduated from the Universits of Denver with                                              a     BA
                                                degree in American histors in 1978.




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                                                Some Basics About the Editorial Page




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                                                                                                      The New York Times          -
                                                                                                                                       Reader Questions and Answers -The New York Times
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                                         Q. Do you 1mve fact checkers. or                                             is t11e       case t11at your editorials are not
                                         intended to be factual? Also, are you related to Abe?
                                                                                                                                                                                                                                                    DoYour                Eyes Often           Bother     You?
                                         Q. 31y first question is: W12yaren                                             t t1te      editorials signed by t/ie writers?                                                                              Regular discomfort                        may signala        chron   c




                                         Tee never imderstood w/1y                                    t11e          editorials are riot siçued,                       as t/lis       icould give                                                    eyeconditson.


                                         tire writers credit (or dis-credit"as some may see it) for t12eir work and
                                         furtlier uould              let your readers know telio the writers are.                                                                                                                                   Findingan                    Ideal    Neighborhood
                                                                                                                                                                                                                                                    What it           s    Uke     to live in the most sought
                                                                                                                                                                                                                                                    after    NYC           neighborhoods.
                                         And my second question: Does the board 12ave to agree on eac11 editorial?
                                         For example. does more than halfof t/2e board 11ace to O.K. the final drqft
                                                                                                                                                                                                                                                a   ReclaimYourWorkday
                                         or are you tÏIe fŠlal decider?                                                                                                                                                                             How      a        messaging            platform     can
                                                                                                                                                                                                                                                    streamline                 your entire         day at the oFice

                                         A.   I   chose these         as       the first questions                             I   m answering this week for two
                                         reasons. One           is   that ther reflect conunon areas of curiosits about editorials.                                                                                                                 Food         Is       an   Invitation
                                                                                                                                                                                                                                                    Explore               theworld         with American         E<press
                                         their purpose and how they are prepared. Indeed,                                                            I   didn't really know the                                                                     Piaenom.

                                         answers to these questions until 2003. when I moved from the Times
                                         newsroom, where I had spent                                            16   years. and joined the editorial board                                             as

                                         deputs editorial page editor.

                                         The other was just to take the chance to say that yes. I'm related to Abe. He
                                         was my father. (That                          s   A.3L Rosenthal, for those of you who don t get the
                                         reference. He was                 a       reporter, foreign correspondent. metro editor.
                                         managing editor, executive editor and Op-Ed columnist at The Times, for                                                                                                a

                                         total of something like 50 years.) He died just about three years ago.
                                                                                                                                                                                                                                                                      TOPTEN
                                         Editorials are, obviously, pieces of opinion journalism. They are not
                                                                                                                                                                                                                                                          B           ig D ata
                                         intended to be dispassionate. balanced accountings of                                                               a    news situation or
                                                                                                                                                                                                                                                     TRENDS FOR 2017
                                         issue. They present                       a   strong and strongly argued position. and do not
                                         necessarily present or even take into account the opposing position.                                                                                                                                            GET THE WHITEPAPER


                                         At least. that's what editorials are on our Editorial Page. Some newspapers
                                         have editorials that present the opposing viewpoint - if only to knock it                                                                                                                                       ()               +    a        ble    a    u


                                                                                     "debate¯
                                         down - or, more infrequently, to present a           about a particular
                                         subject without taking                            a   strong stand.

                                         In our editorials, we strive to present                                               a   strong editorial position (or "bottom
                                         line in our shorthand). Idealy, that                                              s       not just to praise or complain (O.K.,
                                         it s more frequently to complain), but also to offer a creative solution or
                                         prescription. If we don t have a strong bottom line. I think it s often better
                                         simply not to comment on whatever the subject may be.

                                         When it comes to facts                            -    verifiable               pieces of information                        -
                                                                                                                                                                             editorials are
                                         no different         than any other article in The Times. (We could have                                                                    a     daylong
                                         discussion of what                    a       "fact"        is,       of course. To            a   politician there are only two
                                         facts    -
                                                      I   m right and I'm going to win the election. But I think we re talking
                                         about the basics, like names. dates. places. scientific                                                          and technical data,
                                         quotes, the voting records of lawmakers.                                                    individual items in government
                                         budgets, and           so    on.)

                                         If something is presented as                                      a    fact, it has to be correct. How do we ensure
                                         that? The same way the newsroom does. by reporting. In fact. I have often
                                         told people that the thing that surprised me the most about the editorial
                                                                                                                                                                                                                                                                      .TOP TEN
                                         page was just how much reporting went into each editorial.
                                                                                                                                                                                                                                                          Big Data
                                         We rely on the news pages of The Times (and other papers, too) for
                                                                                                                                                                                                                                                     TRENDS FOR 2017
                                         information. A great deal of what we write about                                                       is       news driven.
                                         Sometimes, we cannot duplicate the newsroom s reporting. (The Editorial                                                                                                                                         GET THE WHITE PAPER

                                         Board cannot, to pick one obvious example, go out and duplicate the long.
                                         painstaking reporting that led to The Times uncovering President Bush                                                                                              s
                                                                                                                                                                                                                                                         ‡   ) +               a        ble    a    u

                                         unlawful electronic eavesdropping program.) So in that case, we simply
                                         attribute the information to the news pages of the paper.




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                                                                                                                                                                  Reader Questions and Answers -The New York Times
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                                            attribute the information to the news pages of the paper.

                                            But far more often. the editorial writers do their own reporting, collect their
                                            own information in support of our opinions. I like to say that                                             a   Times
                                            editorial presents            a   strong opinion based on reality.

                                            Our writers bear the first and primary responsibility for checking their
                                            facts, but they are backed up by the editors who edit their editorials and
                                            signed opinion pieces, by our very able staff researcher, and by our
                                            dedicated and extremely hard-working team of copy editors.

                                            Editorials are unsigned because they are the product of a group of people,
                                            who bring their experience and intellect to bear on a wide range of topics.
                                            They are meant to represent an institutional opinion, not                                         a    personal
                                            opinion. The editorial board is the voice of its board, its editor and the
                                            publisher of The Times. (By the way, it is most emphatically NOT the voice
                                            of the newsroom, which is run by Executive Editor Bill Keller and is entirely
                                            separate from my department.)

                                            Our board meets three times                            a       week, on Monday. Tuesday and Thursday,
                                            for anywhere from an hour to much longer, depending on what we re
                                            discussing. Each member has an area of expertise                                  -
                                                                                                                                  a   beat         -
                                                                                                                                                       or more likely
                                            a   main one and two or three subsidiarv ones.

                                            In our meetings, I call on each member in turn to talk about what                                                 is   going
                                            on in their areas, what we should be writing about that day and in coming
                                            days, and what our editorial position should be. Sometimes there                                                  is   no
                                            debate. Sometimes there                     is    a   lot of debate.

                                            We are not striving for unanimitv and we do not take votes (except for                                                                      Ad                                                                        >   ×

                                            political candidate endorsements, which is a bit more formal process). But                                                                        Crystal Clear
                                            we are looking for positions that make sense to this group of highly
                                            qualified, educated and deeply experienced professional journalists. They
                                            should be based on the principles for which the board stands and grounded
                                            in   a   solid understanding of the facts.
                                                                                                                                                                                        Brilliant   Business              Phones

                                            The editorials are written by the board member who is most expert in the                                                                    gn   og   Do   not   use   your       business   ohone untl   you   end



                                            subject, most often the person who suggested the topic. There may be times
                                                                                                                                                                                                                                                            Evpert
                                            when a writer does not feel passionately, personally, about the topic of his
                                            or her editorial. but that person is still the best choice to write it.

                                            Editorials are edited by Deputv Editor Carla Robbins, or Assistant Editor
                                            Robert Semple, or me. Individual board members are free to conunent on
                                            editorials after they are written, and often do. But the editorials are not
                                            submitted to the group in                     a   formal way for approval.

                                            For all of these reasons, the editorials are anonvmous.                                   We're not hiding
                                            anything,         really. If you look on our Web site                      youl find      profiles of our
                                            editorial writers, including the areas they write about. We also have signed
                                            appreciations, editorial notebooks, editorial observers and city, suburban
                                            and rural life pieces.

                                            In the end, someone does take personal responsibilitsfor each and every
                                            editorial. That would be me. The final decider,                              as   one questioner put it. Feel
                                            free to send your criticism (or even praise. I mean why not?) to me.

                                            Letters to the Editor

                                            Q. Sir, it will be          illuminating ifyou are willing                    to lay out the criteria for
                                            choosing Letters to the            Editorfor print.

                                            Q. Two questions:                 one why do so few letters appear that react to previous
                                            Letters to the Editor? Do you resist the kind of dialog among readers that
                                            use to      so   delight readers of the London Times?




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                                                                                                           The New York Times         -
                                                                                                                                          Reader Questions and Answers -The New York Times
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               Reshape      Music     and Art                                   to ABC and           Disney                                      Regulation                                                                           Knowledge                                     Line   as   a



                                            use to so delight readers of                           t1re         London Times?

                                            Two, you have by now publislied literally lumdreds of letters on
                                            Israeli/Palestinian issues that make essentially the same points. frequently
                                            in the same language.Isn't it about time you insisted on some original idea
                                            or viewpoint in            a       letter before publislaing it? Is Letters to the Editor more
                                            devoted to allowing readers self-expression                     or to publislaing material t/mt
                                            makes    a   serious addition to the news and commentary that appears on                                                                                             Chevron
                                            yourregularcolumns?

                                            A. Well, Mr. Schiffman, I don t think the two options in your last question
                                            are mutually exclusive. The Letters section has always been the place where                                                                                                 to   HELP
                                            The Times gives our readers a chance to respond to our news and
                                            commentars and we think their letters are                                           a   serious addition to that news                                                            WNM
                                            and conunentary.                                                                                                                                                                            SEE     HOW     ))


                                            You're right that we don't generally use the letters section                                                          as a   place for
                                            readers to respond to each other                                      s   comments,      in part because of the way I
                                            just described the purpose of the section. We have                                               a   giant megaphone to
                                            address our readers. The Letters section has ahvays been                                                         a    place for them to
                                            answer back.

                                            In addition, we tiy to stay on the news and keep the Letters section                                                                 as    fresh
                                            as   we can possibly make it. Turning into                                      a   place for readers to debate each
                                            other would make it harder to move on to new subjects, and there are
                                            plenty of new subjects each day.

                                            On the specific subject of the Israeli/Palestinian conflict, we try to present
                                            as   many diverse viewpoints                           as           possible, and I doubt well ever satisg
                                            anyone with          a   strong opinion on this issue. (Just look at how passionately
                                            you express your own opinion about the quality of our readers opinions.)

                                            Mr. Sharma: Letters are chosen each day by our Letters editor, Tom Fever.
                                            who wrote a description for our readers of that process. Basically it goes like
                                            this: Every day we get hundreds. if not thousands of letters, through e-maiL
                                            (We get them through snail mail too, but mostly we use e-mailed letters).

                                            Tom and and his team separate them by topic, screening out those that are
                                            simply not fit for printing, or are addressed more appropriately to an
                                            individual Op-Ed columnist.

                                            Tom then chooses                   a   set of topics for the next day                        s   paper, trying to reflect
                                            both the news of the moment and the subjects about which we ve seen the
                                            most interest.           Often, the two are the same. We have room for only about                                                               a

                                            dozen letters total,                so      he has to be selective.

                                            Sometimes       a    Letter            is   simply          a       response from the subject of an article,
                                            editorial or Op-Ed column,                             so we run             it alone, without any other letters.                                                         %eo
                                            Other times we run                     a    package ofletters on                    a   particular issue. In that case,                                               -          om   -



                                            Tom strives to publish                       a   set of letters that reflect the nature of the debate                                                                 65% OFF
                                            over that issue. It does not necessarily reflect the statistical balance of the
                                            letters we received. Times letter writers often have similar views.

                                            Each letter     is       edited, for length, appropriate language and factual content.
                                            We then contact the letter writer, to make sure that he or she actually sent
                                            the letter, and give him or her                                 a    copy of the edited letter. Any letter writer                                   is

                                            free to reject our editing or make counter suggestions. In the end, we decide
                                            whether to print               a   particular letter.

                                            The best kind of letter                     is relatively                 short (under 15o words), clearly written,
                                            strongly opinionated and direct. It doesn't contain personal invective aimed
                                            at the writer or subject of an article. And it                                      s   well written. Ill be honest:
                                            Because of the nature of our readers, letter writers who defend Republican,




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                                                                                                                 The New York Times                  -
                                                                                                                                                         Reader Questions and Answers -The New York Times
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                                            Because of the nature of our readers, letter writers who defend Republican,
                                            conservative            or right-wing positions on many topics have                                           a       higher shot at
                                            being published.

                                            Online comments, of course, are                                a   whole different story. If someone asks,
                                            maybe we can discuss those in                             a    later posting.

                                            Is The Times Tough Enough on Obama?

                                            Q. I have lived in the U.SA. for 25 years but presently I live in The
                                            Netherlands. To be informed about the global news I read NYTimes.com.

                                            My question: In the past the U.S. media endorsedRepublican interests but
                                            now      I    notice the support for President Obama and his team driving the
                                            U.SA. into astronomical debts. Regretfidly,                                      I find     in your paper very few
                                            opposing views.Apparently, The New York Times                                               is   following the
                                            popularity of Obama rather than looking down the road and what 2½RP
                                            has done to taxpayer's                  indebtedness,                   home foreclosures and
                                            unemployment. Banks are laughing themselves to heaven! They don't need
                                            help, the American people do.

                                            I had expected             a mox        critical approach by the NYTimes?

                                            A. Mr. Frowein, you don t say in your e-mail whether you're talking about                                                                                             Chevron                -




                                            news coverage or what appears on my pages, so  Tll address just the opinion
                                            section.
                                                                                                                                                                                                                   00 ERS
                                            Respectfully, I urge you take another look. For starters. I don t see how our                                                                                                to
                                                                                                                                                                                                                              H   ELP   A Al M'
                                            editorials or the views of our Op-Ed columnists could have been taken to                                                                                                                    UUII1
                                            endorse Republican interests. Tm fairly sure former President Bush and                                                                                                            get done
                                            Karl Rove would disagree with you strongly. And while more of our                                                                                                                                SEE   H0   W   ))
                                            editorials and Op-Ed columns agree now with Mr. Obama                                                             s    policies, there               is

                                            still plenty of criticism to be found on our pages.

                                            I d start         with Paul Krugman's column, which has hardly been                                                       a   cheerleading
                                            section for the Obama administration. Nor have the columns of Maureen
                                            Dowd, David Brooks or Gail Collins. I think all of these writers, like our
                                            other columnists,              call the shots                 as   they see them.

                                            Our editorials, too, have been both for and against Mr. Obama's policies.
                                            We have frequently been critical, in particular, on the handling of TARP and
                                            other aspects of his response to the financial crisis.

                                            Women Cohunnists, Seriously

                                            Q.   I love        the editorial page; it                 is   the first thing      I turn to in the morning.My
                                            question is            as much of       a   conunent as                 a question.   I find it a bit peculiar that
                                            the two women colunmists,                           Maureen Dowd and Gail CoHins, are satirical
                                            and humorous.Iadore their writing, and generally think they am spot on,
                                            but it       is   almost like you cannot get                        a   "serious" woman colwnnist. Do you
                                            agree? I also must add that I think the world of Verlyn Klinkenborg.
                                            Thanks and keep up the great work.

                                            A. O.K.,          so   I admit. I m answering this because it                           s   a    slow, hanging ball.
                                            First, I love Verlyn, too. And second, I would be the last person alive to
                                            suggest that Maureen Dowd and Gail Collins are not serious columnists.
                                            They are indeed, very serious.

                                            'Mino Do You Guys Think You Are?'

                                            Q.   I   am a fairly well-informed reader who subscribes daily to both The
                                            New York Times and Long Island Newsday                                           -
                                                                                                                                and I often read
                                                                                                                                                                                                                    Enal news deser was
                                                                      online during the day to                              current news and check up on
                                                     .



                                            NYTimes.com                                                               see
                                                                                                                                                                                                                    realjournaHsm.
                                            the stock market.Tm not saying this as a conceited person but often                                                                       I    see




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                                                                                                          The New York Times                     -
                                                                                                                                                     Reader Questions and Answers -The New York Times
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                                                                                                                                                                                                                       realjournaHsm.
                                            the stock           market.fm not saying                           this as       a   conceited persora but often                              I see
                                            through news stories long before you fellows realize what                                                              is    going on; for
                                            example.Hilary Clinton's money problems long befort she decided to pull                                                                                                    Free access for 4 weeks.
                                            out of the presidential race and that her negotiations with Obama to                                                                                                       No credit card required.
                                            withdraw were all about money and that NATO should be expanded to
                                            include all Russian satellite countries during the recent Russian invasion. I                                                                                                                     ElteNetagerkiimes
                                            often send e-mails to editors@nytimes.com with suggestions for your
                                            editorials. Rather than receiving an e-mail stating that you received my                                                                              e-

                                            mail and my                  suggestions           are being considered,                       I    receive a reply which
                                            says you are too busy to read it or respond. Who do you guys think you
                                            ov? Even ifyou                  are not planning to read your reader' suggestions.at
                                            least be polite!

                                            A. Tm sorry to say, Mr. Ackerberg, that                                      I   just don t have any idea who gets
                                            e-mail sent to editors@nvtimes.com.                                    -An update: Our systems people say
                                            that    is    not    a   working address. Mail sent to it should bounce back to the
                                            sender with              a   notice saving that it is undeliverable.

                                            The e-mail address for the editorial board                                           is    editorial@nytimes.com. You                                 11


                                            get an automated reply from that address too. but you31                                                       see       it    is   quite
                                            different.

                                            Legalization of Marijuana

                                            Q. Why         is    The New York Times so antagonistic to cannabis? Isn't it
                                            obvious that alcohol                   is   far more dangerous to what really matters, like life,
                                            limb and fetus? Isn't the war obviously imwinnable and spewing out all
                                            kinds of nasty collateral damage?Doesn't it trample on the promise of
                                            "liberty and justice for all"? Where's the justice in users of killer alcoliol                                                                     so

                                            thoronglaly lording it over users of cannabis?

                                            Q. Would TheNew York Tirnes be interested in doing an ongoing editorial
                                            to discuss the pros/cons of medicinal marijuana, the efffectiveness                                                                      of the
                                            program in the14 states w1:o have already enacted such legislation, the
                                            likelihood of success of                      a   medicinal marijuana bill in Illinois, legalkation
                                            bills in Canfornia and Massachusetts and a cost/benefit analysis of federal
                                            legalization? In my opinion, it will 11appen and it is better to llappen
                                            sooner than later. TIre enourmous                                   amount of tax revenue                              is a    great thing,                                                           I   Know...
                                                                                                                                                                                                                                                  Our customers          and
                                            but    t/ae   broader issue              is whether marijuana is such an harmlid substance                                                                                             ..
                                                                                                                                                                                                                                                  partners have        rich
                                                                                                                                                                                                                                                              kns
                                            (studies shou it                is   in fact less liarmfid, depending on quantity, quality and                                                                                                             a



                                            method of intake, i.e. vaporizer than tobacco and alcohoL not addictive                                                                                                                               business.

                                            and has no deaths attributed to it), that the govermnent even has a right to
                                            continue an ineffective drug war that costs millions of taxpayer money on                                                                                                                         i   Know>
                                            arrest and incarceration.
                                                                                                                                                                                                                                                           GatToKnowUs


                                            Corallary issues are the cost of imprisomnent, whether the reefer being
                                            legal would even lead to increased use and the reason it was made illegal
                                            in the first place.              I raise these              issues because they deserve                                far more
                                            discussion than they have been given, even in light of the other more
                                            pressing issues. With more than 3o millionpeople using marÿuana.I am
                                            confident this issue deserves far more attention than it has got.

                                            A. The Times editorial page has long taken the position that the use of
                                            marijuana for medical purposes should be legal, and that it should be left up
                                            to the states to handle this issue.

                                            We strongly opposed the Bush administration's policy of launching federal
                                            prosecutions of medical marijuana, even when those who dispensed it were
                                            obeving their own state's laws and were not trafficking                                                  to or from other
                                            states. We applauded the Obama administration                                                   s   sensible decision to back
                                            away from that approach.




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                                                                                                            The New York Times                        -
                                                                                                                                                          Reader Questions and Answers -The New York Times
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              Building     Blocks    to                                     Rhimes      in    Counterpunch                              Ciant               Ridding     itself    of     Brand       Tries     to Grow Up     Wrangle          Time.Space          and
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                                                                    4                                                                                  Is

              Reshape      Music     and Art                                to ABC and         Disney                                   Regulation                                                                             Knowledge                                                         Line   as   a


                                           away from that approach.

                                           As long       as   marijuana remains illegal for non-medical uses, those who grow,
                                           sell or use it face arrest. But The Times editorial page has been an advocate
                                           for decades of fair and reasonable drug sentencing guidelines.

                                           Here are links to            a   few editorials on these issues:

                                           "Relief for Patients," March 26, 2oog

                                           "Racial Inequits and Drug Arrests," May io. 2008

                                           "Marijuana and College Aid," Nov.                                2,   2oo7

                                           "Prescription for Pain." June                        16,     2007
                                                                                                                                                                                                                                                                            Þ ×
                                           "The Politics of Pot," April 22, 2oo6
                                                                                                                                                                                                                                           I   Know...
                                                                                                                                                                                                                                           Our customers              and
                                                Preserving the Power of Congress.                                Nov. 29, 2004
                                           ,,                                                               ,




                                                                                                                                                                                                                                           partners have             rich
                                                                                                                                                                                                                                           analytics         to
                                           "Federal Persecution,"                May 31, 2003                                                                                                                                              fine     tune their
                                                                                                                                                                                                                                           business.


                                           "Miscuided Mariiuana War," Feb. 4, 2003
                                                                                                                                                                                                                                       I   Know         '>    Information
                                                                                                                                                                                                                                                                    Ilullders
                                           "A Win for Medical Mariiuana," Oct                                    31, 2oo2
                                                                                                                                                                                                                                                    Get To Know          Us     þ
                                           "Setback on Medical Marijuana," May                                    17,   2001

                                           The Right to Bear Arms

                                           Q. Has        T12e   New York Times decided                            as a company         policy to oppose                           t11e

                                           riglit   of   t11e   people to keep and bear arms witliout infringement                                                     as stated

                                           in the Second Amendment to                           t12e    Constitution, or            is t12is       opposition               a

                                           decision that was adopted tmilaterally by t/ie editorial staff/board/
                                           leadersliip?

                                           Have you decided that t11e'Bill ofRiglits' are not meant by                                                       t11e    formders to
                                           define certain "rights of                   t12e    people" endowed by tireir creator, whomever
                                           or whatever that creator might be?

                                           A. As far       as   I   know. The Times has no corporate policy on the Second
                                           Amendment. The editorial board s position                                     is really     nothing like you
                                           describe it.

                                           We believe that the Second Amendment convers                                         a    communal, or societal,
                                           right to bear arms in the interest                           -
                                                                                                            as    the Framers put it               -
                                                                                                                                                            of   a    "well-
                                           regulated milita." Please note the use here of the word "regulated."

                                           We believe that Americans should be allowed to purchase and own
                                           weapons, but that reasonable restrictions on those weapons may be
                                           imposed by the federal, state and local governments                                          in the interest of public
                                           safety. That, by the way, was the position of the Supreme Court last year in
                                           a    ruling that struck down parts of the District of Columbia s eun-control



                                           Even though that decision also said the constitution conveys an individual
                                           right to own guns (with which we do not agree), it said that governments
                                           may impose reasonablerestrictions on that ownership.

                                           Here     is   our editorial on that decision.
                                                                                                                                                                                                                "Barefoot Writer
                                                                                                                                                                                                              And live the life   of a
                                           We feel strongly that it               is    well within the rights of cities, states and the                                                                       famous writer  without
                                           federal government to restrict the ownership and storage of handguns,
                                                                                                                                                                                                             having to write a block-
                                                                                                                                                                                                             buster movie script or a
                                           which are huge threats to the lives of city dwellers everywhere. Ask most                                                                                              chart-topping book.
                                           police departments. They agree.                                                                                                                                     LEARN MORE ABOUT THIS UNIGUE                       GROUP
                                                                                                                                                                                                                      OF HIGHLY-PAID       WRITERS...

                                           In urban areas.handguns are used almost solely to shoot other human




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                    Reshape     Music    and Art                                to ABC and        Disney                                      Regulation                                                                             Knowledge                                    Line   as   a




                                                In urban areas.handguns are used almost solely to shoot other human
                                                beings. Those who keep them for collections or target shooting would not be
                                                inconvenienced by laws requiring registration of such weapons, or laws that
                                                restrict who may buy them, or laws that require them to be stored in homes
                                                in safe and secure ways.

                                                There should be laws requiring background checks and waiting periods for
                                                purchases of all firearms.                  This        is       not remotely        an impediment to owning or
                                                using rifles and shotguns for legitimate purposes. Hunters have to get
                                                licenses to hunt ½Œy not register the weapon?

                                                People with records of violence or serious mental illness should not be
                                                allowed to buy guns.

                                                Children should not be allowed to buy guns.

                                                Gun show operators should not be permitted to circumvent                                                        background
                                                check requirements for selling guns.

                                                Automatic weapons and assault-tvpe weaponsshould be regulated.

                                                The police department in NewYork should be allowed to trace weapons that
                                                were used in crimes here                   -including                 far too often the murder of police
                                                officers     -      to those who sold them to criminals in other states.

                                                The federal government should not pass laws that protect unscrupulous gun
                                                makers and gun dealers from having to answer for the consequences of
                                                their actions in selling weapons to those who traffic in them illegally.

                                                We do not take an absolutist position on guns. The absolutist,                                                      extreme
                                                position is to claim that the complex wording of the Second Amendment:                                                                                                PETlŒMENT           ONAV TEPMSP
                                                written in the 18th centuiy. means that there can be no restrictions on gun                                                                                                                   r
                                                                                                                                                                                                                           e     o
                                                ownership in the 21st centurv.

                                                Who Writes the Headlines                                 on        Op-Ed Columns?                                                                                                     OO

                                                Q. I was wondering if tire Times' Op-Ed columnists                                            write their own
                                                11eadlines.

                                                A. Yes, they do.

                                                Bailout for Newspapers?

                                                Q. Is there any            trutli    to   t11e   rumor I licard tirat t/ie United States
                                                govermnent was going to offer                                a    "bailout" to       t12e   print media industry,                           so

                                                long   as    t/ae   papers taking the bailout limited or eliminated tlicir opinion
                                                page? Just curious               -
                                                                                     t/ianks!

                                                A.   I ve never        heard the rumor.

                                                There s been talk about the newspaper industry, of course,                                                     as   the recession
                                                has deepened and newspapers have closed around the country. And some
                                                people have suggested that newspapersseek an exception to federal
                                                antitrust rules           so   they can start charging for their Web sites                                      as a     group,
                                                instead of one by one.

                                                But it   s   hard to imagine how Congress could pass any law giving money to
                                                the nation's newspapers, since that would clearly violate the First
                                                Amendment, and it s just                    as    hard to imagine                a       newspaper'staking money
                                                directly from the federal government.

                                                As for eliminating opinion pages, now there                                  s       a   truly bad idea!

                                                Let me just add, seriously, that if government officials think their problems
                                                with newspapers are confined to the opinion pages, then they are not
                                                vaving attention. The real hard work of uncovering movernment                                                            s   doines.




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                                                                                                             The New York Times                   -
                                                                                                                                                      Reader Questions and Answers -The New York Times
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                                           with newspapersare confined to the opinion pages, then they are not
                                           paying attention. The real hard work of uncovering government's                                                                         doings,
                                           and wrongdoings,                       is    carried out for the most part by reporters in the
                                           nation       s    newsrooms.                 not by its editorial and Op-Ed pages.

                                           Opinion pages have an impact on public debate, and they sometimes reveal
                                           things the government would rather have kept quiet (I'm thinking most                                                                                                                                                                           f>   ×

                                           recently of the publication by the New York Review of Books of the
                                                                                                                                                                                                                                                                 i   Know...
                                           devastating               Red Cross report on the torture and abuse of prisoners in                                                                                                                                   our customers         and
                                                                                                                                                                                                                                                                 portriers have     rich
                                           American detention camps.)
                                                                                                                                                                                                                                                                 analyticsto
                                                                                                                                                                                                                                                                 fine tune their
                                           But the Pentagon Papers, Watergate, the Iran-Contra mess, C.LA.                                                                                                                                                       business.

                                           assassination plots, illegal wiretapping, and                                           so   many other government
                                           scandals were brought to Americans attention on the news pages of
                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                             I   Know >
                                           American newspapers, not the editorial pages.
                                                                                                                                                                                                                                                                         GetToKnowUs            &


                                           Diversity and the Editorial Board

                                           Q. How come the New York Times Op-Ed board does not reflect the
                                           diversity             of this colmtry? There are only two women, no Muslim, no Asian,
                                           and no Hispanic among the writers, and only until very recently another
                                           black man was added.Also, I might be wrong. but there                                                                   is   no K4SP
                                           either?

                                           A. The Times Editorial Board is not                                        as   diverse      as   we'd like. or                  as    diverse             as

                                           it could be, but your census by gender and ethnicity                                                    is    wrong. You can                         see

                                           for yourself by looking W.

                                           As for religion, it               is        not my habit to quiz my staff on their religious beliefs.

                                           Anonymous Reader Conunents                                                 on       Articles

                                           Q.    I   was thrilled to see that you will be answering some questions this
                                           week, and hope mine                           is   worthy ofa response.

                                           I am writing you to gain some insight                                           as to   why it         is    tilat some
                                           newspapers still allow anonymous blog posts to immediately follow news
                                           stories. Doing so seems to blur the distinction between news and opinion,
                                           and       t11e   anonymity makes me wonder if, at times, there                                                      is       one person
                                           posing           as    various individuals in an effort to manipulate public perception.
                                           IfI   recall correctly.                     The New York Times used to have open blogs, but
                                           changed that practice. Can you e.1plain the thinking bellind that, and
                                           perhaps surmise wily other newspapers 12ave cliosen not to do so?

                                           It   seems that for papers which choose to allow such posts, the articles
                                           posted may                be   factual, but many ofthe anonymous blog posts are hateftd
                                           rantings from demagogueshiding behind a c2oak of anonymity. And
                                           although the articles may                                be    well researched and presented with an
                                           absence of malice, the same cannot be saidfor the cowards who engage in                                                                                                                   'Barefoot Writer'
                                           submitting               a   variety         of hateftd or misleading false conunents.Td                                                  be                                          And live the life   of a
                                           interested to learn your thoughts on                                        t1ais    matter. Thank you.                                                                                famous writer  without
                                                                                                                                                                                                                                having to write a block-
                                           A.    I m    a    little confused by some of the terminologv as you use it in your                                                                                                   buster movie script or a
                                                                                                                                                                                                                                         chart-topping book.
                                           question, but I           think the gist of it is, What do I think about anonvmous
                                                                                                                                                                                                                                     AM     MORE   ABOWHMS            UMOUE       GROUP
                                           conunents on news articles on our Web site?

                                           Franldy, not much. Comment                                      is   a   big part of news Web sites (of most Web
                                           sites in fact), although it was hardly invented by the Internet. Letters to the
                                           Editor are reader comments. Theyve existed for                                                    a   long, long time. Nor                            is

                                           the idea of "community" an invention of the Web age. Newspapers have
                                           been fostering and creating coummunities since the first one came off the
                                           first press. Radio and television have each contributed enormously to
                                            community.




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                                            The big difference between those letters to the editor and most connnents
                                            is,   as   you point out, the fact that many. if not the vast majority.                                                 of online
                                            comments are anonymous.                              Personally. I find anonvmous                            comments to be
                                            pretty uninteresting                   -
                                                                                        and it's not because                 im    a   Luddite. Ive been using
                                            computerized message boards since 1986.

                                            It's just         a   personal preference. When I m scanning comments (and I scan
                                            the conunents on every Opinion section article that offers comment),                                                                      I tend
                                            to read the ones with names attached and ignore the ones with screen
                                            names. I have                a   lot of interest in what John Krouskoff of New City has to
                                            say, and really none in what spatula187 (to make up one printable screen
                                            name) has to say.

                                            Apart from wanting contact with real people,                                       I   find that Internet anonvmity
                                            fosters one of the worst aspects of the Internet culture: creepy rudeness.

                                            At The Times, we moderate all of our public conunent spaces. It                                                             s   time
                                            consuming and expensive, and it's not                                   a   simple task. But we believe that it                                is

                                            necessarv. because we want lively and tough debate. We just don't want to
                                            create       a    cacophonous              schoolyard.              There's plenty of that online already.

                                            I   don't think that allowing readers to comment on news articles blurs the                                                                                                                                i    Hootth       EG

                                            line between news and opinion. It's generally prettv clear in those cases
                                            where our reporting and writing ends and where the reader comment                                                                                                                         DO YOU
                                            begms.
                                                                                                                                                                                                                                     QUALIFY?
                                            Etymology of Op-Ed Page?                                                                                                                                                                             Life insurance
                                                                                                                                                                                                                                                    forgunners.

                                            Q. Would you be able to offer some liistorical background on the origin of
                                            The New York Times's Op-Ed page since it was first launc11ed on Sept. 21,
                                            1970? As best I can determine,                               t11e    name       "Op-Ed"(opinion-editorial)was                                                      már
                                            derived Ji om               a    page in The New York World called "Op-Ed" under the
                                            direction of Herbert Bayard Swope,                                     w11o     organized        a   collection of colonns
                                            by staff writers. In addition.                          T1:e    Cliicago Tribime featwed opinion pieces
                                            as    far back           as 1912. The Times,                 liowever, at t/ie suggestion of John Oakes,
                                            was the first to seek outside writing contributions from persons with
                                            expertise in different fields from                              all walks       of hfe. Tlie first editor of tlie
                                            page was Harrison E. Salisbury.

                                            A. Actually, Op-Ed does not stand for opinion-Editorial. It stands for
                                            Opposite Editorial, which is where it started appearing in The Times on that
                                            date, Sept. 21, 1970.

                                            The idea was not just to organize columns by staff writers, which had been
                                            done,        as       you say, by other papers, but to also create                           a   forum for opinion
                                            writing by people who do not work for The Times.

                                                                                                                Over the years, we have refined what we
                                                                                                                mean by "opinion writing,                         to include art
                                                                                                                and charts and many other things.
                                                                                                                Online, we have had video Op-Eds. We
                                                                                                                also have had a lot of success with group
                                                                                                             blogs,     a   collection of writers whom we ask
                                                                                                                to approach a single subject on an
                                                                                                                ongoing basis.

                                                                                                                These subjects have varied widely,                                   as

                                                                                                             have the kinds of groups we've
                                                                                                                assembled. We have had soldiers in Iraq
                     Andrew         Rosenthal          Per    P

                                                                                                                and Afghanistan and newly returned
                                                                                                                soldiers; ordinary Iraqis; teachers and
                                                                                                                students: musicians and comoosers:




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                                                                                                         The New York Times                      -
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               Reshape      Music     and Art                                       to ABC and           Disney                                         Regulation                                                                       Knowledge                                       Line     as    a


                                                                                                                        soldiers; ordinarv Iraqis; teachers and
                                                                                                                        students; musicians and composers;
                                            drinkers and non-drinkers; sports writers; political consultants, and so on.
                                            These features take advantage of the format created for blogging, and the
                                            flexibilits of the Internet.

                                            We also have online columnists.                                            Some of them appear only on the Web.
                                            Others appear in the newspaper from time to time, but together, they have
                                            created          a    vibrant, new Op-Ed world in our digital space.

                                                                                                                                           Our traditional Op-Ed
                                            Deal Book                                                                                      columnists also participate in
                                            DealBook         delivers    tne    neus    d-ifing          the       n'arb.e-s
                                                                                                                                           the online world. David Brooks
                                            e,d   :ne   conversatior            De vered       weenday
                                            mornings         and    aternoo,s                                                              and Gail Collins conduct                           a

                                                                                                                                           running Conversation,                        for
                                               Sign     Up
                                                                                                                                           example, about politics.

                                            a came           swcocce            i
                                                                                    arrou-o.com-o                      on,                 Nicholas Kristof was an early
                                                                                                                                           and eager blogger who is now
                                                                                                                                           also   a   Tweeter and               a

                                            Facebooker. Paul Krugmanhas                                            a   lively blog about economics and politics
                                            and other subjects.

                                            As with          so    much else about journalism in the digital age, this is                                                       a   moving,
                                            evolving target. But the basic mission of Op-Ed remains the same                                                                        -
                                                                                                                                                                                             to
                                            create      a    public forum for provocative, interesting, inspiring, frustrating
                                            ideas.

                                            Reader Conunents on Editorials

                                            Q. Sometimes                 T11e       Times allows readers to comment ori the                                                editorials.I
                                            wish it were possible on all. Do you ever read these comments? For
                                            example, last week there was an editorial favoring                                                         a   separate public
                                            healt11 insurance program alongside the current private companies.                                                                                If you
                                            read the conunents, you would             large majority of the responderits
                                                                                                                   see       that    a

                                            prefer an efficient single-payer program. This is especially striking ifyou
                                            order tlie comments by tlie munber of recommendations they received.
                                            You have to go throug/14o or 5o before you come to one that does not
                                            want to eliminate private insurance completely.

                                            Will tItis           have any effect on The Times's total lack of coverage, both in
                                            reporting and opinion, ofsingle-payer systems? Will we finally get an
                                            article or Op-Ed comparing various single-payer systems wit11the various
                                            Band-Aid-type proposals frequently discussed in The Times?

                                            A. We do not have comment on eveiy editorial because we moderate our
                                            comments and we just don't have the resources to handle that much
                                            conunent.

                                            Yes, I read the comments regularly,                                              as   I said in answering another question,
                                            and Tm interested in our readers' reactions and ideas, especially when thev
                                            are thoughtful and constructive.

                                            The editorial you mentioned was intended to address the question that                                                                                  is   on
                                            the table right now, which                              is   whether the health care reform package being
                                            developed by the White House and Congress should include                                                                       a   public
                                            program along with private ones. It                                              is   our belief that it should. It was not
                                            presented as an exhaustive treatment of all the options for providing health
                                            insurance.

                                            As you have said,                  a    single-payer option                             is   popular among many Americans.
                                            It certainly was among those who posted comments on that editorial,
                                            although that is hardly an accurate sampling of public opinion. But in
                                            Washington. right now, the single-payer simply lacks political support in




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                                            Washington, right now, the single-payer simply lacks political support in
                                            Congress, regardless of its relative merits and drawbacks.

                                            And that raises an interesting question. Should editorial writers focus on
                                            what is politically possible in discussing an issue like health insurance
                                            reform, or should thevleave                                politícal calculus aside and advocate for the
                                            ideal?

                                            It   s   a   question we ask ourselves all the time. If you ignore political realits
                                            and just stick to your principles, you risk becoming less relevant, or even
                                            irrelevant, to the actual political debate. On the other hand, if you don t
                                            have principles, what's left?

                                            We haven't come up with the perfect answer to this, and                                                    as        result, we go
                                            back and forth. Mostly it depends on the context                                          Take the health care
                                            debate: If we were doing an editorial on the elements we would include in
                                            our perfect health care reform plan, we certainly would talk about whether
                                            single-payer                should be on the list. When we are writing about what
                                            Congress               is   actually doing, however, single-payer                          is    not in the game.

                                            Do Online Comments Have Equal Value?

                                            Q.As         t12e      Opinions editor of                  T12e      Heig12ts, the independent student
                                            newspaper of Boston College, I am particularly interested in your
                                            perspective                 on these three questions:

                                            1.   How do you                  see the   Opinions section,                 a   newspaper's marketplace of
                                            ideas, responding to or incorporating the reader-comment feature of
                                            online newspapers?

                                            2.    Goingforward, do you believe tliatonline comments will be an asset or
                                            a    detriment to professional newspaperjournalism?

                                            3.    Implicit within                the explosion of online comments seems to be tire
                                            assimiption that all opinions are equally appropriate.valid,                                                           and rationaL
                                            Do you harbor this assumption? And ryso, do you believe that t/lis position
                                            could serve to tmdermine the importance ofa professional Opinions
                                            editor,        a       gatekeeper of public t/1ought?

                                            A. Ink-and-paper newspapers have, at least in our lifetimes, always
                                            incorporated readers comments. We call them letters to the editor. The
                                            notion of reader comments was not invented online. The web took
                                            something that existed in the world of nondigital media and expandedit
                                            vastly,        as      it has done to           so    many other things.

                                            If you are wondering whether we plan to include online comments in our
                                            printed paper, we do that, notably on Sundays, when we give our print
                                            readers            a   sampling of our online columns and the readers' reactions to
                                            them. The limitations are simple, starting with space. It                                                 is        infinite online,
                                            perhaps, but quite finite on paper. The other issue                                         is   anonvmitv.                   We're not
                                            willing to publish arouvmous                                 content in the printed newspaper,                                so   we have
                                            to confine ourselves to signed comments,                                         and then       go   through the effort of
                                            tracking down the writers and making sure it                                        is   in fact their work. Letters
                                            are also edited. Comments                                 are not.

                                            I    think online comment can be useful and fascinating, or dull and pointless.
                                            It all depends on the commenter.   People who read an article or an editorial
                                            and have something substantive                                       to say about their reactions to the piece, or
                                            to the issue at hand, contribute                                 a   great deal to the discussion on our
                                            website.

                                            There is, sadly,                 a   rather mean-spirited tone to alot of the dialog online,
                                            which         is    fostered by the culture of anonvmity                            on the Internet. Many




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                                            which          is   fostered by the culture of anonymits on the Internet. Many
                                            commenters                    are not satisfied with expressing an opinion. Theyhave to
                                            denigrate the author of the piece on which they are commenting, or one or
                                            more of the other commenters,                                              and in      a   highly personal fashion that always
                                            puzzles me. since they surely don t know the people about whom they are
                                            talking.

                                            I guess the answer to your                                      third question is implicit here. No, I don't think
                                            all comments                      are of equal value.

                                            How Cohmmists Are Chosen

                                            Q.Against which criteria do you hire Op-Ed columnists?

                                            Q. ½91y are so many of your Op-Ed writers dismissive,                                                                      arrogant and glib?
                                            I suppose my question                                is   one of taste: mustan Opinion page's staff be cruel
                                            and arrogant to make                                 a    point? Does arrogance arid rudeness help                                                      a    writer
                                            establish               a    sense of superiority, whic11I would guess                                            is       needed to claim
                                            t11at11is or lier opinions are wortliy ofnational consim2ption?                                                                               In short, do
                                            you ever feel uncomfortable with the condescending tone that                                                                                  is   sometimes
                                            set by certain ofyour writers or your group as                                                          a    whole?

                                            A.       I   don t think it's fair to characterize The Times                                                 s   Op-Ed columns                          as

                                            dismissive,                  arrogant and glib. Many of our columns are sharp and pointed,
                                            and criticism when made                                    is    generally made stængly and with passion, just
                                            as    praise            is   offered strongly and with passion. But I don t agree with the
                                            generalization.

                                            Hiring new columnists is one of the toughest tasks an opinion editor has, in
                                            my view. It's a lot easier to do online, where there s lots of room and it is
                                            much easier for people to come and go. Giving someone                                                                      a        regular spot on
                                            the print Op-Ed page                            is       another thing entirely.

                                            Writing             a    twice-weeldy Op-Ed column for The Times, or                                                       a        longer once-a-
                                            week column,                      is   a    real high-wire act without                            a    net. Our columnists are
                                            expected to have                        a   continuous stream of good, fresh ideas and to present
                                            them in interesting, engaging and challenging ways. They also have to write
                                            really well (for an example of not writing really well, you can cut and paste
                                            this sentence). And they only get about 8oo words.

                                            We look for people with broad and deep interests, not necessarily                                                                                  a    detailed
                                            specialization in one particular area. Long and varied journalistic
                                            experience is an obvious plus, since the deadline demands of column
                                            writing are prettv intense. A sense of humor                                                   is a      great thing.

                                            But mostly there                       is    something inchoate that cannot be put on                                                     a   resume              -



                                            the          abilitvto think                very clearly. the strength to reach conclusions                                                        and the
                                            courage to lay them out before                                             a   huge, discerning and demanding audience
                                            in an eloquent and unequivocal way.

                                            Some columnists are intensely ideological, and that's O.K.,                                                                          as   long         as    they
                                            are not blindly partisan. Taking sides in politics                                                      is   part of           a     columnist's job.
                                            But the Times Op-Ed page                                        is   not the place for rote cheerleading for either
                                            the Democratic Party or the Republican Party.

                                            Columnists                   are journalists. They have to do                                 a       great deal of original
                                            reporting, and it                      is   their responsibilitv to remain intellectually honest.

                                            If   a       "liberal" or "Democratic" columnist thinks that the Democratic
                                            candidate for president is wrong on the issues, or making a hash ofhis or
                                            her campaign.it                        is   his or her duty                     as a   joumalist to say                so.          The same,
                                            obviously, goes for                         a   "conservative"                    or "Republican" columnist.

                                            One particularly maddening example of this came last year, during the




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                                            One particularly maddening example of this came last year, during the
                                            campaign, when                 a   large number of "conservative"                                columnists fell all over
                                            themselves praising Sarah Palin in public, and then trashed her in private. I
                                            thought the ones who said publicly and privately that Sarah Palin was                                                                               a

                                            good choice were profoundly misguided. But the ones who told their
                                            audience one thing when they believed another were not doing their jobs.

                                            How About The Journal?

                                            Q. What do you think of your counterparts at The Wall Street Journal?

                                            A. The Wall Street Journal has long been an excellent newspaper and                                                                                a

                                            formidable competitor. Em not entirely crazy about some of the changes
                                            that have been made under its new ownership, but it remains one of the top
                                            papers in the countiy.                      Apart from utterly lacking the skills to be The Times s
                                            business editor, one of the reasons Yve always been glad I am not in that job
                                            is   that competing with The Journal would keep me up at night.

                                            I read       The Journal           s   editorials almost every day, along with those in The
                                            Washington Post and The Los Angeles Times - for competitive                                                                         reasons. Tm
                                            chagrined when any of those papers beat us to an idea, but it                                                              s   always           a       little
                                            easier with The Journal. since the chances that we're going to take the same
                                            position on          a   whole range of issues                        is   pretty minute.

                                            When I first started working on the Times editorial page, I ran into Paul
                                            Gigot, The Journal's editorial page editor, at some big event and I told him                                                                                 I

                                            thought his page was powerful. I said that it                                         is so     well written that
                                            sometimes I find it convincing,                                but if I take         a   deep breath and wait                          a      few
                                            minutes. that feeling generally passes.

                                            One of the hallmarks of our Op-Ed page is that there is                                                  a     lot of diversitv of
                                            opinion and differences with our editorial positions. As                                                   a       reader, I don't
                                            find    as   much of that              as   I'd like in The Journal.

                                            The Democratic Process

                                            Q. One unsettling tendency                            I   have noticed in several contexts                                     is   for your
                                            page to argue for ignoring or cirewnventing                                              t1re   democratic process                              ifit
                                           fails to produce the result it advocates for. Some examples:

                                                   You do not agree with the referenda that imposed term limits on
                                                   elected New York City officials                           so     you advocated for the City Council to
                                                   Overturn them.

                                                   You do not agree witir the California Ballot Measure on same-set
                                                   marriage so you advocated for the California Supreme Court to
                                                   overturn          it.


                                                   You do not agree with current                             U.S.      2aic     regarding inunigrationquotas
                                                   and for the lack of an avenue for citizenship for undocumented
                                                   namigrants so you advocate for either no enforcement or lal
                                                   enforcement.I               know you have said                      in     the past that you do advocate for
                                                   enforcement but honestly. I can t find                                   a   recent enforcement measure
                                                   you have supported. For example, in today                                         s   editorial you advocate
                                                   strongly for enforcing the border against criminals but imply that
                                                   enforcement agents should leave economic migrants alone.

                                                   And you generally advocate for the judiciary to use its powers
                                                   expansively to strike down legislation you feel is wrong (this is old
                                                   news).

                                            My guess        is   you can quibble with any of these statements                                                       but my larger
                                            question is, do you feel the people are capable ofgetting it right? Or                                                                         is       it
                                            more ofa process of giving them                                   a   chance to get it right but if they can't
                                            we are just              ed in asserting              a        higher power to achieve the correct result?




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                                             we are justified in asserting                               a        higher power to achieve the correct result?

                                             To me          a   more respectftd approach would be to say, 'T disagree but                                                     t/ae      will
                                             of the people                 is    sacrosanct and I need to work harder at persuading them
                                             to my pointofview."A                               more difßcultapproach to be sure, but I would
                                             argue more noble.But perhaps in our history of slavery such                                                           a    hig/l-level
                                             of deference                 is    forfeit.

                                             A. I am not going to go through your letter point by point, although you
                                             mischaracterize our positions on several points, including immigration. But
                                             I will say that it is simply not the case that we argue for circumventing the

                                             democratic process when we don t like the results. We are opposed, in
                                             general and on principle, to government by ballot referendum                                                          -
                                                                                                                                                                        or more
                                             accurately, government by sound bite and political consultant.

                                             Of course we feel the people are capable of getting it right and even when
                                             they get it wrong, as in the two elections that resulted in George W. Bush
                                             being president, we respect that choice and have never argued for
                                             overturning it

                                             That is the whole point.

                                             Americans elect representatives                                       to their local, state and federal
                                             governments.                      They have         a     chance at each election to remove them or keep
                                             them       -
                                                                unless of course that choice has been short-circuited by                                                term-limit
                                             laws (which we also oppose, with the exception of the presidency,                                                           on the
                                             ground that they deprive voters of the right to make                                          a   choice on Election
                                             Dav).

                                             Ballot referenda are notoriously vague, easy to demagogue and tragically
                                             read or understood by verv few voters.

                                             They have rendered California virtually ungovernable. In the specific case of
                                             California              s    anti-gay-marriage ballot measure (quite apart from my inability
                                             to   see       how it serves your larger point to have huge amounts of cash flowing
                                             in from other states to affect California s voters), we think the Supreme
                                             Court needs to review whether the change was made constitutionallv, not
                                             whether it              is   fair.

                                             Sometimes it takes courageous politicians or judges to show people when
                                             they are wrong. Yes, slavers                               is    an excellent example. There are many, many
                                             others.

                                             Here are            a   couple of editorials on California                          s   endless run of referenda that
                                             make some of the points I tried to make here:

                                                    "That Flurry of Ballot Questions," Nov-                                 5-   2005

                                                    "California's Day After, Overshadowed Blessings." Oct.                                          9,        2003

                                             Cutting Back                        on   Coluumists?

                                             Q. Are you cutting back on the op-ed columnists'schedules? It seems that
                                             one or the ot11er of them                           is    always "off today" of late.

                                             A. No, there                 is    no reduction in columnists schedules. They take vacations.
                                             They get sick. They write books. Sometimes those come in batches.
                                             Sometimes they don t.

                                             Web Metrics and Editorial Decisions

                                             Q. Does the editorial page take into consideration Web ratings and the
                                             potential for viral propagation (i.e., hits. page views, links, citations and
                                             other sources of Web traffic that direct back toNYTimes.com) when
                                             considering whether or not to publish                                        a piece or address a                 topic?




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                                            considering whether or not to publish                                    a   piece or address                a   topic?

                                            A. No, we do not. We write about what is in the news, or topics that we
                                            think are important, interesting. engaging or (yes} amusing, for                                                           us and our

                                            readers.

                                            The Wall Between News and Editorial

                                            Q. Several months back Iwrote Mr. Keller complimenting him on his
                                            remarks to students on running a newspaper.I forward similar
                                            compliments to you on the topic of how to run the editorialside.Is the true
                                            arbiter on the issue of separation of church and state Mr. Sulzberger, and
                                            does he, in his own mind, make such                                  a    distinction?Although                       a     German
                                            Canadian conservative,                     I consider you required reading.

                                            A. Yes. in the end, Arthur Sulzberger Jr. would be the final arbiter of the
                                            separation between News and Editorial. (I try to avoid the church state
                                            comparison because                 I guess that makes us the                          church and that makes me
                                            uncomfortable.)

                                            It   is   a    real distinction, and an important one.                            Bill Keller, as                executive editor,
                                            is   in charge of The Times                 s       newsroom             and the vast majoritv of the pages we
                                            print on paper and online.

                                            As editorial page editor, I am in charge of the editorial and Op-Ed pages
                                            and the online Opinion pages. I have my own staff. I don t report to Bill
                                            Keller but, rather, directly to the publisher.

                                            The editorial board's thrice-weeldy meetings are not open to members of
                                            the newsroom staff, nor are our meetings about candidate endorsements.
                                            When we have guests,                  as   we do evers day, we invite the newsroom to send
                                            people to those meetings if the guest                               is    willing to have       a       news reporter or
                                            editor sitting in on the session. Members of the newsroom are not told in
                                            advance which candidates we are going to endorse in elections.

                                            This      is   not to say that there                is   no conununication across this line. I talk to
                                            and meet with               Bill frequently.              We just don't discuss the news coverage or
                                            the editorial coverage.

                                            Members of my staff are free to contact reporters to follow up on their
                                            reporting or check facts or seek guidance in their own reporting. It would be
                                            deeply inappropriate for                   a     member of the editorial board to advocate for
                                            some line of news coverage, just                              as   it would be inappropriate for                           a    reporter
                                            or editor in the newsroom to lobby us to take                                     a   particular editorial position.

                                            Members of the news staff may not write for the editorial or Op-Ed pages.
                                            Members of the staff of the editorial department may not write for the news
                                            sections, although they may write for sections like the Book Review, which
                                            is   an opinion section after all, or for feature sections like Travel.

                                            Deciding When to Shut Off Comments

                                            Q. First,        I would       like to thank you for the intelligent editorials and Op-Ed
                                            writers. I do notalways agree with everything I read, but I do applaud the
                                            excellent writing. How do you decide to end the comments? Could you
                                            eliminate some. If the comments are long, to include others? In cases
                                            where the editorial or Op-Ed is very controversial, it would be wortInchile
                                            to read as many comments as one can.Finally, in                                           a   reply to              a    previous
                                            writer, women may write with humor to entice readers and keep them
                                            reading to          a   column that            is   very serious in nature.

                                            A. Thanks verv much for the compliments.

                                            On comments, it's basically                         a    question of resources. We moderate




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                                            On comments,          it's basically       a   question of resources. We moderate
                                            conuments on our site, and we have                       a   finite number of moderators.
                                            Essentially,    it works like this: The comment moderators come in to work
                                            and find   a   queue of comments that have been sent in. There could be 200
                                            connnents in the queue. There could be 2,ooo.

                                            A judgment      is   made about how many comments they will be able to get
                                            through during their working day. If that                       is   more than are in the queue, it                           is

                                            left open. If that is significantly less, then we shut off new comments and
                                            proceed to work through the existing ones. The calculation can change from
                                            day to day, depending on how many comments individual articles get and
                                            how many articles are open for comment.

                                            Selection of the Newest Colunmist

                                            Q. Could you explain the process and considerations behind Ross
                                            Douthat's selection        as an      Op-Ed cohnunist?

                                            A. We were looking for an interesting, fresh conservative voice for our page.
                                            After looking at many columnists,                       some of whom were terrific, we felt in the
                                            end that Ross had the right combination of interests                          -   politics. policy,
                                            culture, society. He       is   also well-versed in the world of Web opinion
                                            journalism.

                                            He will be starting soon.

                                            In an earlier post, I talked in more detail about what I think makes                                            a     great
                                            Op-Ed columnist.

                                            Can Colunmists Write Whatever They Want?

                                            Q. Are colunmists allowed to write whatever they want? Since these kinds
                                            of pieces are personal opinions, does The New York Times have                                            a     set of
                                            basic rules that writers have to comply with?

                                            A. Columnists are free to write on virtually any subject, and to take
                                            whatever position they like. This is not entirely a blank check, however.
                                            Columns have to conform to Times standards for factual accuracy, taste and
                                            journalistic ethics.

                                            We also ask our columnists not to straightforwardly endorse political
                                            candidates, which we            think is       more properly done on the editorial page.

                                            Columnists      are, for the most part, subject to the rules of the New York
                                            Times Manual of Style and Usage, although they are allowed some freedom
                                            in bending those rules. Our columnists,                        for example, are permitted to drop
                                            honorifies like Mr. and Ms.

                                            Who Does the Thinking?

                                            Q. What do The Times's opinion pages do that, say, amateur and
                                            professional bloggers can't do? That is, how do you differentiate Times
                                            editorials from all the readily available commentary out there? Or are you
                                            trying to play catch-up with other online media outlets, since you fink to
                                            some columnists'blogs on The Times's Web site?

                                            Q.   I read lots     of technically based editorials. I often wonder, "how do these
                                            people know this stuff, why do they sound so sure, and who does their
                                            thinking for them?"

                                            Tm thinking ofquestions such as these: Fed Policy, Climate Change,
                                            whether Scooter Libby received a fair trial, whether Shakespeare's really
                                            dead.

                                            I mosesneciallu interested in                  a    recent article about Professor Duson in




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               Reshape      Music     and Art                                to ABC and           Disney                            Regulation                                                                           Knowledge                                     Line   as   a




                                            I    was especially        interested in                a recent       article about Professor Dyson in
                                            your Sunday magazine.It                          is    clear that       he    and several scientists in                       t/1e

                                            Heartland Coalition are not kooks.How do your editorial writers decide
                                            t11at they are members of the flat earth society?

                                            It   also seems that you sometirnes take positions on issues t11at11aven't been
                                            reported in        t/1e   news pages, and I wonder about t12is.Perliaps                                            Ive        missed
                                            tlie article. Perhaps you could reference the article in your editorial.

                                            Who does your research, and lioic do you make decisions aboutwhicli
                                            position to take on complicated tecimical questions wllen tivere                                                    is    more
                                            t11an one legitimate position?

                                            Notice       thatI   am not challenging your                           riglit   to produce       t12ese        epistles.               I'd
                                           just like to know how t/ie kitchen in your restaurant works.

                                            A. The Times opinion pages are written by professional journalists, with                                                                     a

                                            great depth of experience and knowledge and with proven reporting skills.

                                            Theyhave the entire resources of The Times behind them,                                                   as   well      as       the
                                            access that being          a   Times editorial writer provides for them. They talk and
                                            meet with leaders of government,                                business and societs daily.

                                            There's a great deal of good conunentary out there on the Web,                                                      as    you say.
                                            Franldy, I think it         is    the task of bloggers to catch up to us, not the other way
                                            around.

                                            The answer to the basic question of how we know what we say we know                                                                     is

                                            twofold: Experience and hard work. The members of the editorial board do
                                            an extraordinary amount of reporting, every single workday. They read
                                            voraciously,         and they talk to many people with different                                 kinds of
                                            information and varying points of view.

                                            Yes, we sometimes take positions on issues that have not been reported in
                                            the news pages. Those editorials are based on our own enterprise reporting.

                                            Our board is staffed with people with                              a   wide and deep range of knowledge
                                            on many subjects. Phil Boffey, for example.has decades of science and
                                            medical writing under his belt and often writes on those issues for us.
                                            Robert Semple, similarly,                   is a        Pulitzer Prize-winning writer on
                                            environmental issues. Our foreign affairs writers, Carol Giacomo and
                                            Deputy Editorial Page Editor Carla Robbins, have decades of experience in
                                            those areas. Carla was part of                          a   Pulitzer Prize-winning team when she was
                                            with The Wall Street JournaL

                                            Here     s   one way to look at it: If the Times editorial board were                                          a   single
                                            person, he or she would have six Pulitzer prizes; one Emmy; one Polk
                                            Award; one Georgetown Weintal Prize for Diplomatic Reporting; one
                                            Horace Greeley Award for Public Service; one Scripps-Howard Walker
                                            Stone Award; one Overseas Press Club Award; one Peter Weitz Prize on
                                            Reporting on Europe: one United Nations Correspondents Association
                                            Award; two law degrees; and five doctorates, in historv, psychologs, English
                                            literature and political science.

                                            He or she would be               a   former Guggenheim Fellow, Nieman Fellow, N.E.A.
                                            Fellow. Knight-Bagehot Fellow, Thomas                                    J.   Watson Fellow, U.S. Institute of
                                            Peace Fell, Briggs-Copelandlecturer at Harvard,                                     W.E.B. Debois lecturer at
                                            Harvard.       New York Times Moscow bureau chief, Associated Press Moscow
                                            bureau chief, New York Times Jerusalem bureau chief, Times U.N. bureau
                                            chief. Times foreign editor, Times national editor, Times Washington
                                            editor, Wall Street Journal diplomatic correspondent, Reuters diplomatic
                                            correspondent. Money MagazineWashington bureau chief, U.S. News and




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                                            correspondent, Money Magazine Washingtoribureau chief, U.S. News and
                                            World Report Latin America bureau chie£

                                            He or she would have had experience                                        as a   foreign correspondent in Russia,
                                            Tokyo. Mexico. London, Asia, the Middle East and Western Europe.

                                            He or she would have written                                 14       books. And he or she would have won the
                                            1964 third-grade spelling bee at P.S. 183 in Manhattan, on the word
                                                necessarv.

                                            "Monolithically Prejudicial"?

                                            Q. Could you give me                    a     remotely                  reasonable explanation                 as to     why The
                                            New York Times relentlessly treats citizens who are anti-Obama, anti-
                                            abortion. pro-marriage, pro-gun ownership. pro-tobacco rights, and
                                            proponents of individual liberty with such extreme bias.1uuniliation, and
                                            -
                                               worst ofall - silence? As much as I love newspapers, it's people like you
                                            and The New York Times who make others smile to see your industry go
                                            down in flames. The Times                               is   so       monolithically prejudicial to an extreme
                                            degree in each of these areas                                -
                                                                                                                  both on the editorial page and on the front
                                            page, that any claims to integrity, or indeed conscience, are nonexistent.

                                            And who exactly does Paul Krugman think he                                            is   by being ultra-
                                            condescending                   toward Americans who are fighting for their beliefs and
                                            way of hfe with regard to the anti-tax movement? Krugman's recents
                                            comments about such were, in a word, disgusting. Regardless ofone s
                                            viewpoint. these protests would make our forefathers proud that there are
                                            still people willing to stand up for their beliefs.

                                            A. Is there a possible answer to this question?

                                            First, there          is       no "monolithically prejudiced" NewYork Times. The editorial
                                            page has nothing to do with what goes on the front page, and vice versa.

                                            Let me attempt to address                           a    few of your points. First. we do not treat people
                                            who are,         as   you say, "anti-Obama, anti-abortion," with bias or silence. We
                                            talk about these issues all the time. If by bias, do you mean we take
                                            positions? Of course we do. We produce an editorial page.

                                            Do we disagree with those who would criminalize abortion (which I
                                            presume          is   what you mean by anti-abortion")? Yes, vociferously.                                                  But then
                                            again,      so   does most of the country. Criminalizing abortion                                              is a   fringe
                                            position in the United States.

                                            As for the rest. we are pro-marriage. In fact. many of us are married. We are
                                            in favor of gun ownership,                          so       long as the owners register their firearms and
                                            are not children, violent offenders or criminally insane.

                                            We are neither for nor against "tobacco rights," but we believe,                                                       as   does the
                                            entire medical profession, that smoking is dangerous to your health. We
                                            also believe that cities and states and the federal government have the right
                                            to restrict tobacco use in public places.

                                            We are ardent defenders of individual liberties. It is the subject of hundreds
                                            of editorials.

                                            Paul Krugman fights for his beliefs and stands up for them in every column.

                                            Too Easy              on Obama?

                                            Q. Why does The Times seem                                       so    biased?

                                            I   like to believe that I am                  a        moderate and do not have an agenda towards
                                            either ofthe recent WhiteHouse administrations. I am no fan ofour last
                                            President and I gave him a failing grade for the job he did.At the same




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                                           either of the recent White House administrations. I am no fan of our last
                                           President and I gave him a failing grade for the job he did.At the same
                                           time,   I   am very skeptical ofour current Presidentas he has very little
                                           track record.

                                           With the amount of serious changes that President Obama is trying to
                                           enact   so   quickly, I am shocked at the lack of questions coming from our
                                          free press, I am not trying to derail anything he is trying to accomplish; I
                                           am just looking for information sources that will help me look at his
                                           choices from
                                                      all sides. There are positives and negatives with each policy
                                           and The New York Times appears to be applauding almost every policy he                                                                         D>


                                           enacts without         so    nwch as one legitimate question to its long-term impact.
                                                                                                                                                                                                                 FIRST
                                           Additionally. there has been little to no criticism of him personally. The                                                                                            CHECKED BAG
                                                                                                                                                                                                       .
                                           last President imderwent extremely                          harsh cristicisms from TheNew York
                                                                                                                                                                                                                 FREE
                                           Times in his first few months and throughout his term. I believe these were
                                          justified. Let s just         see some of the same             fairness for the new guy.

                                           Without an honest and balancedfree press, where will our society be in so
                                           years from now?

                                           A. If you are referring to the editorial and Op-Ed pages in your question, I
                                           would submit respectftdly that we have published many, many articles in
                                           the last three months that question President Obama's policies and
                                           priorities on      a   wide range of issues. Are we finding ourselves more in
                                           agreement with this president than the last one? Absolutely.

                                           Physical Abuse of Women

                                           Q. Yesterday's         lead editorial on the woes of Afghani and Pakistani women
                                           was truly touching. Where                     is    your concern expressed for, and why have
                                           you failed to mention, the                plight of Saudi women            -
                                                                                                                          including             t/ae   plight of
                                           the 75-year-old who was sentenced to 75 laslaes, four months in prisori and
                                           exile for receiving five loaves of bread delivered to lier laome by her 24-
                                           year-old nephew and his business partner, reported in your newspaper
                                           recently?

                                           A. We have written many editorials on the plight of women in Saudi Arabia,
                                           most recently this one.

                                           Are Op-Ed Articles Ever Assigned?

                                           Q. Does the Op Ed page solicit pieces? On Feb.1sth ofthis year. the
                                           bicentermial of the birth of Claarles Darwin, you ran an op-ed piece by
                                           Olivia Judson.Ms. Judson had been writing                            a   column for nytimes.com                        on
                                           evolutionary biology for the previous year. The impression I came away
                                           with was that the many writers who no doubt submitted pieces about
                                           Darwin for that occassion never stood                         a   chance of getting published                    -



                                           that "slot"had already been asigned to Ms. Judson. (Full disclosure; I did
                                           not submit such          a   piece!)

                                           A. Yes, the Op-Ed page solicits articles evers day. Most of the articles we
                                           publish were.in fact, solicited. This does not mean that we ignore the
                                           unsolicited manuscripts we receive. Actually, we read each and everv one of
                                           them. and we publish quite                    a    few.




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                                             unsolicited manuscripts we receive. Actually, we read each and everv one of
                                             them. and we publish quite                       a    few.




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